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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 KENDRICK DEMON STIDOM,                     §
                                            §
               Plaintiff,                   §
                                            §
 vs.                                        §   CIVIL ACTION NO. 3:21-CV-01389-N
                                            §
 JP MORGAN CHASE BANK,                      §
 NATIONAL ASSOCIATION,                      §
                                            §
               Defendant.                   §


  ORDER GRANTING DEFENDANT’S AGREED MOTION TO EXTEND DEADLINE
              TO ANSWER OR OTHERWISE RESPOND TO
                 PLAINTIFF’S ORIGINAL COMPLAINT

        On this day came on to be heard Defendant JPMorgan Chase Bank, N.A.’s (incorrectly

named JP Morgan Chase Bank, National Association) (“Defendant” or “JPMC”) Agreed Motion

to Extend Deadline to Answer or Otherwise Respond to Plaintiff’s Original Complaint (the

“Motion”). The Court is of the opinion that the Motion should be and is hereby GRANTED in its

entirety.

        IT IS, THEREFORE, ORDERED that the Motion is GRANTED.

        IT IS FURTHER ORDERED that Defendant’s deadline to answer, move or otherwise

respond to Plaintiff’s Original Complaint is extended to August 23, 2021.

        IT IS SO ORDERED.



        _____________________, 2021.



                                                    UNITED STATES DISTRICT JUDGE

ORDER GRANTING DEFENDANT’S AGREED MOTION TO EXTEND DEADLINE
TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S ORIGINAL COMPLAINT
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